             EXHIBIT B

            Proposed Order




4309150.2
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re                                                          :   Chapter 11
                                                               :
JOSEPH KLAYNBERG,                                              :   Case No. 22-10165 (MG)
                                                               :
                                    Debtor.                    :
                                                               :
--------------------------------------------------------------X

       ORDER PURSUANT TO PURSUANT TO 11 U.S.C. § 327(A) OF THE
        BANKRUPTCY CODE AND FED. R. BANKR. P. 2014(A) AND 2016
   AUTHORIZING THE RETENTION OF GOLENBOCK EISEMAN ASSOR BELL &
               PESKOE LLP AS COUNSEL TO THE TRUSTEE
                 NUNC PRO TUNC TO SEPTEMBER 20, 2022

            Upon the application (the “Application”) of Jonathan L. Flaxer (the “Trustee”), solely in

his capacity as the chapter 11 trustee for the estate of the above-captioned debtor (the “Debtor”),

dated September 30, 2022, seeking entry of an order pursuant to § 327(a) of title 11, United

States Code (the “Bankruptcy Code”) and Rules 2014(a) and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the retention of Golenbock

Eiseman Assor Bell & Peskoe LLP (“GEABP”) as counsel to the Trustee; and upon the

declaration of Michael S. Weinstein, a member of GEABP, dated September 30, 2022; and this

Court being satisfied, based on the representations made in the Application and declaration

attached thereto, that GEABP is “disinterested” as such term is defined in section 101(14) of the

Bankruptcy Code, and that represents no interest adverse to the Debtor and the Debtor’s estate;

and it appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, and that this is a core proceeding under 28 U.S.C. § 157(b); and it appearing that venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409 and that the Trustee has provided proper notice

of the Application; and that the notice provided by the Trustee is appropriate under the

circumstances and that no other notice need be given; and that GEABP’s employment is



4309150.2
necessary and is in the best interests of the estate; and after due deliberation and sufficient cause

appearing therefor; it is

               ORDERED, that the Trustee be, and hereby is, authorized to retain GEABP nunc

pro tunc to September 20, 2022, as counsel to the Trustee to the extent provided herein; and it is

further

               ORDERED, that GEABP is authorized to provide the following services: (i)

providing legal advice and all legal services necessary to assist the Trustee in his efforts to

maximize the value of the Estate and investigate the Estate’s assets and financial affairs; (ii)

assisting in the investigation of the acts, conduct, assets, liabilities, and financial condition of the

Debtor and insiders; (iii) evaluating and pursuing potential causes of action belonging to the

Estate, including under chapter 5 of the Bankruptcy Code, if any; (iv) preparing or reviewing on

behalf of the Trustee, such motions, applications, answers, orders, reports, and other papers in

connection with the administration of the Debtor’s Estate; (v) at the request of the Trustee, taking

such action as may be necessary to protect and preserve the Estate, including the prosecution of

actions on the Trustee’s or Debtor’s behalf, the defense of any actions commenced against the

Debtor or the Trustee, and the prosecute objections to claims designated by the Trustee as subject

to objection; (vi) assisting the Trustee in negotiating, drafting and obtaining confirmation of a

chapter 11 plan for the Debtor; (vii) providing tax advice as related to this case; and

(viii) performing such additional necessary legal services as may be required by the Trustee in

his carrying out of his statutory duties; and it is further

                ORDERED, that GEABP shall be compensated in accordance with and will file

interim and final fee applications for allowance of its compensation and expenses and shall be

subject to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules,

                                                    2
4309150.2
and the Order Pursuant to Section 105(a) and 331 of the Bankruptcy Code Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [Dkt.

No. 45], dated March 11, 2022, and any applicable orders of this Court; and it is further

               ORDERED, that prior to any increases in GEABP’s rates for any individual

retained by GEABP and providing services in these cases, GEABP shall file a supplemental

affidavit with the Court and provide ten (10) business days’ notice to the Trustee, the Debtor, the

United States Trustee and any official committee. The supplemental affidavit shall explain the

basis for the requested rate increases in accordance with Section 330(a)(3)(F) of the Bankruptcy

Code and state whether GEABP’s client has consented to the rate increase. The United States

Trustee retains all rights to object to any rate increase on all grounds including, but not limited

to, the reasonableness standard provided for in section 330 of the Bankruptcy Code; and it is

further

               ORDERED, that this Order shall be immediately effective and enforceable upon

its entry, and the Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order; and it is further

               ORDERED, that the Court shall retain jurisdiction to hear and determine any

matter or disputes arising from or relating to this Order or the matters addressed in the

Application; and it is further




                                                    3
4309150.2
               ORDERED, that to the extent the Application is inconsistent with this Order, the

terms of this Order shall govern


Dated: New York, New York
       __________ ___, 2022


                                      CHIEF UNITED STATES BANKRUPTCY JUDGE




NO OBJECTION
Office of the United States Trustee


/s/ Tara Tiantian, Esq.
Trial Attorney




                                               4
4309150.2
